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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-34643
         SAMANTHA KATE MOLYNEAUX

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 10/12/2015.

         2) The plan was confirmed on 01/19/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 02/14/2017.

         6) Number of months from filing to last payment: 16.

         7) Number of months case was pending: 19.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $10,846.41.

         10) Amount of unsecured claims discharged without payment: $128,915.04.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor              $8,242.00
       Less amount refunded to debtor                            $6.95

NET RECEIPTS:                                                                                 $8,235.05


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $0.00
    Court Costs                                                           $0.00
    Trustee Expenses & Compensation                                     $360.69
    Other                                                                 $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $360.69

Attorney fees paid and disclosed by debtor:                   $0.00


Scheduled Creditors:
Creditor                                     Claim         Claim          Claim       Principal      Int.
Name                               Class   Scheduled      Asserted       Allowed        Paid         Paid
1ST BANKIN CENTER              Unsecured         148.00           NA            NA            0.00       0.00
Afni, Inc.                     Unsecured         492.00           NA            NA            0.00       0.00
AMERICOLLECT INC               Unsecured         207.00           NA            NA            0.00       0.00
AMERICOLLECT INC               Unsecured         311.00           NA            NA            0.00       0.00
ARLINGTON RIDGE PATHOLOGY      Unsecured          68.00           NA            NA            0.00       0.00
ASSOCIATED BANK                Unsecured      1,350.00            NA            NA            0.00       0.00
BRISTOL VETERINARY SERVICE     Unsecured         241.00           NA            NA            0.00       0.00
BURLINGTON HOSPITAL            Unsecured      1,504.00            NA            NA            0.00       0.00
CAPITAL ONE                    Unsecured          70.00           NA            NA            0.00       0.00
CHASE BANK                     Unsecured         360.00           NA            NA            0.00       0.00
COMCAST                        Unsecured         287.21           NA            NA            0.00       0.00
COMMONWEALTH EDISON            Unsecured            NA         107.76        107.76        107.76        0.00
CREDIT BUREAU CENTRE           Unsecured      3,622.00            NA            NA            0.00       0.00
CREDIT MANAGEMENT LP           Unsecured         333.00           NA            NA            0.00       0.00
DEVRY INC                      Unsecured          82.43      1,200.74      1,200.74           0.00       0.00
DOVER SADDLERY                 Unsecured         139.38           NA            NA            0.00       0.00
FIRST COMMUNITY CREDIT UNION   Unsecured      5,216.00            NA            NA            0.00       0.00
FIRST FINANCIAL BANK           Unsecured         903.00           NA            NA            0.00       0.00
FIRST PREMIER BANK             Unsecured         427.00           NA            NA            0.00       0.00
IC SYSTEMS                     Unsecured         258.00           NA            NA            0.00       0.00
IL DEPT OF REVENUE             Unsecured            NA         116.88        116.88        116.88        0.00
IL DEPT OF REVENUE             Priority             NA         919.84        919.84        919.84        0.00
INTERNAL REVENUE SERVICE       Unsecured            NA         606.50        606.50        606.50        0.00
INTERNAL REVENUE SERVICE       Priority       4,000.00       2,409.77      2,409.77      2,409.77        0.00
JOE PEABODY                    Unsecured         650.00           NA            NA            0.00       0.00
LAKELAND MEDICAL CENTER        Unsecured         168.90           NA            NA            0.00       0.00
LANDMARK SERVICES COOPERATIV   Unsecured            NA       3,964.15          0.00           0.00       0.00
LANDMARK SERVICES COOPERATIV   Unsecured         248.36      3,713.61      3,713.61      3,713.61        0.00
MAUREEN KENNEDY                Unsecured      3,000.00            NA            NA            0.00       0.00
MODERN ARABIAN                 Unsecured         495.00           NA            NA            0.00       0.00
NCH IMMEDIATE CARE CENTER      Unsecured         854.00           NA            NA            0.00       0.00



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Scheduled Creditors:
Creditor                                        Claim         Claim        Claim       Principal      Int.
Name                                 Class    Scheduled      Asserted     Allowed        Paid         Paid
NORTHWEST COMMUNITY HOSPITA       Unsecured          58.27           NA          NA            0.00       0.00
NORTHWEST COMMUNITY HOSPITA       Unsecured         750.01           NA          NA            0.00       0.00
OAC                               Unsecured         187.00           NA          NA            0.00       0.00
PEARCES FARM STAND                Unsecured         600.00           NA          NA            0.00       0.00
PENNYCOOK FARMS                   Unsecured         600.00           NA          NA            0.00       0.00
PPIL                              Unsecured          70.45           NA          NA            0.00       0.00
PPIL                              Unsecured          70.08           NA          NA            0.00       0.00
RAINBOW SAWDUST                   Unsecured         740.00           NA          NA            0.00       0.00
Rockford Memorial Hospital        Unsecured      3,275.00            NA          NA            0.00       0.00
SHELL                             Unsecured          40.00           NA          NA            0.00       0.00
SPEEDWAY                          Unsecured          40.00           NA          NA            0.00       0.00
ST IL TOLLWAY AUTHORITY           Unsecured         214.00           NA          NA            0.00       0.00
SUMMIT DEVELOPMENT                Unsecured      2,585.54            NA          NA            0.00       0.00
TAYLOR WOOD SHAVINGS              Unsecured         740.00           NA          NA            0.00       0.00
THE SHOPPER                       Unsecured          50.00           NA          NA            0.00       0.00
TORRES CREDIT SVC                 Unsecured         108.00           NA          NA            0.00       0.00
UNITED CREDIT                     Unsecured         666.00           NA          NA            0.00       0.00
US BANK                           Unsecured         215.50           NA          NA            0.00       0.00
US DEPT OF ED NAVIENT SOLUTIONS   Unsecured      8,196.00     52,402.96    52,402.96           0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      7,597.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      4,774.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      4,753.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      3,969.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      3,893.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      3,761.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      3,427.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      3,075.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      2,904.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      2,030.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured      1,880.00            NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured         511.00           NA          NA            0.00       0.00
US DEPT OF ED/NAVIENT             Unsecured         451.00           NA          NA            0.00       0.00
WAUPACA PUBLISHING                Unsecured         172.00           NA          NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $3,329.61          $3,329.61              $0.00
 TOTAL PRIORITY:                                          $3,329.61          $3,329.61              $0.00

 GENERAL UNSECURED PAYMENTS:                             $58,148.45          $4,544.75              $0.00


Disbursements:

         Expenses of Administration                               $360.69
         Disbursements to Creditors                             $7,874.36

TOTAL DISBURSEMENTS :                                                                        $8,235.05


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/03/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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